25 F.3d 1056NOTICE:  Although citation of unpublished opinions remains unfavored, unpublished opinions may now be cited if the opinion has persuasive value on a material issue, and a copy is attached to the citing document or, if cited in oral argument, copies are furnished to the Court and all parties.  See General Order of November 29, 1993, suspending 10th Cir. Rule 36.3 until December 31, 1995, or further order.
    Ronald L. CORDOVA, Plaintiff-Appellant,v.Thomas I. COOPER, Warden, Freemont Correctional Facility;Major Olivas, Director, Denver County Jail;  JerryAwmiller;  and Michael J. McBride,Defendants-Appellees.
    No. 93-1440.
    United States Court of Appeals, Tenth Circuit.
    May 2, 1994.
    
      ORDER AND JUDGMENT1
      Before MOORE, ANDERSON, and KELLY, Circuit Judges.
    
    
      1
      After examining the briefs and appellate record, this panel has determined unanimously that oral argument would not materially assist the determination of this appeal.  See Fed.  R.App. P. 34(a);  10th Cir.  R. 34.1.9.  The cause is therefore ordered submitted without oral argument.
    
    
      2
      Our examination has further led us to conclude the district court committed no error in this case.  Accordingly, its judgment is AFFIRMED for the reasons set forth in the recommendations of the magistrate judge dated July 7, 1993.
    
    
      
        1
         This order and judgment is not binding precedent, except under the doctrines of law of the case, res judicata, and collateral estoppel.  The court generally disfavors the citation of orders and judgments;  nevertheless, an order and judgment may be cited under the terms and conditions of the court's General Order filed November 29, 1993.  151 F.R.D. 470
      
    
    